DATE: February 1, 2022


             The following cases in which the Court of Appeals issued published opinions have been
      appealed to the Supreme Court:

          1. Thomas Othel Thompson
             v. Commonwealth of Virginia
             Record No. 1262-20-2
             Opinion rendered by Chief Judge Decker on
              November 23, 2021

          2. Eric Torez Clark
             v. Commonwealth of Virginia
             Record No. 0017-21-1
             Opinion rendered by Judge Ortiz on
              November 23, 2021

          3. Rebecca Benedict-Miller
             v. Virginia Department of Social Services
             Record No. 0323-21-1
             Opinion rendered by Judge Lorish on
              November 23, 2021

          4. Commonwealth of Virginia
             v. Tyekh Chamon Davis
             Record No. 0368-21-2
             Opinion rendered by Judge Fulton on
              November 23, 2021

          5. John Stark
              v. Firouzeh Dinarany
              Record No. 0356-21-4
              Opinion rendered by Judge Beales on
              November 30, 2021

          6. Firouzeh Dinarany
             v. John Stark
             Record No. 0166-21-4
             Opinion rendered by Judge Beales on
              November 30, 2021
7. James Eberhardt
    v. Commonwealth of Virginia
    Record No. 0028-21-2
    Opinion rendered by Chief Judge Decker on
    December 14, 2021
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1. Rakim Malik Nottingham
   v. Commonwealth of Virginia
   Record No. 0340-20-1
   Opinion rendered by Judge O’Brien
    on May 25, 2021
   Refused (210551)

2. Brian Wesly Ruff
   v. Commonwealth of Virginia
   Record No. 0694-20-2
   Opinion rendered by Judge Athey
    on July 27, 2021
   Refused (210808)

3. Nicholas DeLuca, s/k/a, etc.
   v. Commonwealth of Virginia
   Record No. 1150-20-4
   Opinion rendered by Judge Russell
    on October 26, 2021
   Appeal not perfected in Supreme Court of Virginia (no petition for appeal filed)

4. Nicholas DeLuca
   v. Commonwealth of Virginia
   Record No. 1151-20-4
   Opinion rendered by Judge Russell
    on October 26, 2021
   Appeal not perfected in Supreme Court of Virginia (no petition for appeal filed)
       On January 13, 2022 the Supreme Court issued an opinion in the following case, which had
been appealed from this Court

    1. Robert Lee Smallwood
       v. Commonwealth of Virginia
       Record No. 0844-19-4
       Memorandum opinion rendered by Judge Petty on May 12, 2020
       Judgment of Court of Appeals affirmed by opinion rendered on January 13, 2022
       (200803)
